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17
                                 UNITED STATES DISTRICT COURT
18
                              NORTHERN DISTRICT OF CALIFORNIA
19
     ROADRUNNER RECYCLING, INC.,                  Case No. 3:23-cv-04804-WHA
20
                        Plaintiff,                DEFENDANTS’ NOTICE OF MOTION
21        v.                                      AND MOTION FOR SUMMARY
                                                  JUDGMENT
22 RECYCLE TRACK SYSTEMS, INC., and
   RECYCLESMART SOLUTIONS INC.,                   Assigned for All Purposes to:
23                                                The Hon. William H. Alsup
               Defendants.
24
                                                  Date: November 14, 2024
25                                                Time: 8:00 a.m.
                                                  Place: Courtroom 12, 19th Floor
26
                                                  Complaint Filed:    August 4, 2023
27                                                Trial Date:         December 9, 2024

28


               DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT (CASE NO. 3:23-CV-04804-WHA)
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 1 TO THE COURT, PLAINTIFF, AND ITS COUNSEL OF RECORD:

 2            PLEASE TAKE NOTICE that on November 14, 2024, at 8:00 a.m., or as soon thereafter as

 3 the matter may be heard in the above-entitled Court, located at Courtroom 12, 19th Floor, 450 Golden

 4 Gate Avenue, San Francisco, California, Defendants Recycle Track Systems, Inc., and RecycleSmart

 5 Solutions, Inc. (together, “Defendants”) will, and hereby do, move the Court for an Order granting

 6 summary judgment against Plaintiff RoadRunner Recycling, Inc.’s (“Plaintiff”), pursuant to Fed. R.

 7 Civ. P. 56, with respect to its trade secret misappropriation claims, as detailed in the accompanying

 8 Memorandum of Points and Authorities.

 9            Defendants seek summary judgment that Plaintiff’s trade secret misappropriation claims fail
10 for at least the following four reasons. First, no trade secrets exist; and, accordingly, Plaintiff has

11 not, and cannot, disclose or identify any trade secret(s) with the required reasonable particularity.

12 Second, Plaintiff’s alleged trade secrets, as disclosed, are generally known to the public, including,

13 e.g., via public disclosure by Plaintiff’s patents and patent applications. Third, Plaintiff has not, and

14 cannot, show that any of its alleged trade secrets derive independent economic value, actual or

15 potential, from not being generally known to the public and not being readily ascertainable through

16 proper means by the public. Fourth, Plaintiff indisputably does not own its alleged “Training Data”

17 trade secret. Therefore, Defendants respectfully request that summary judgment against Plaintiff

18 regarding its trade secret misappropriation claims be entered as to all of Plaintiff’s alleged trade

19 secrets.
20            This Motion is based upon this Notice of Motion and Motion, the Memorandum of Points and

21 Authorities filed concurrently herewith, the Declaration of Matthew S. Galica and the exhibits thereto,

22 the records and pleadings in this action, any matter of which the Court may take judicial notice, and

23 such other evidence as may be presented at or before the time this Motion is heard by the Court.

24            The Parties met and conferred on October 9, 2024 regarding this motion, during which

25 Plaintiff indicated it would oppose this motion.

26                                  STATEMENT OF RELIEF SOUGHT

27            Defendants respectfully seek an Order that Defendants have not misappropriated any trade

28 secret under Plaintiff’s first and second causes of action.

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 1                            STATEMENT OF ISSUES TO BE DECIDED

 2          Whether summary judgment should be granted in Defendants’ favor on Plaintiff’s first and

 3 second causes of action for trade secret misappropriation on any of the following independent reasons:

 4                 Plaintiff has failed to adequately disclose any trade secrets with the required,
 5                  reasonable particularity;

 6                 Plaintiff’s alleged trade secrets as disclosed are generally known to the public;
 7                 Plaintiff has failed to show that any of its alleged trade secrets derive independent
 8                  economic value, actual or potential, from not being generally known to the public and

 9                  not being readily ascertainable through proper means by the public; and
10                 Plaintiff does not own its alleged “Training Data” trade secret.
11

12   Dated: October 10, 2024                               Respectfully Submitted,

13                                                         /s/ Matthew S. Galica

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 3                                           RECYCLESMART SOLUTIONS INC.

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